Case 4:21-cv-00074-RSB-CLR Document 1-2 Filed 03/17/21 Page 1 of 24

EXHIBIT B
Case 4:21-cv-00074-RSB-CLR Document 1-2 Filed 03/17/21 Page 2 of 24

RECEIVED FOR FILING, STATE COURT CLERK CHATHAM CO. GA, 2/17/2021 4:32 PM . if L
Brant HarK Clerk of Court

IN THE STATE COURT OF CHATHAM COUNTY

STATE OF GEORGIA

DILLARD ROSS, )
)
Plaintiff, )
)

v. ) CIVIL ACTION NO: STCV21-00013
)
SYNERGY MARINE PTE LTD, )
ARGOSY PTE LTD., and SYNERGY )
MARITIME PVT LTD, )
)
Defendants. )

ACKNOWLEDGMENT OF SERVICE
AND WAIVER OF SUMMONS

NOW COME SYNERGY MARINE PTE LTD, ARGOSY PTE LTD, and
SYNERGY MARITIME PVT LTD, through their attorneys of record, and as of the
date affixed below, hereby acknowledge due and legal service of Plaintiff's Complaint,
Interrogatories and Request for Production of Documents to Defendants, and waive
service of summons in this action while expressly reserving any and all rights and
defenses, including but not limited to the right to contest jurisdiction and venue in this
Court and to remove this action to the federal court.

This 16" day of February, 2021.

HUNTER, MACLEAN, EXLEY & DUNN, P.C.

/s/ Colin A. McRae
Colin A. McRae
_ Georgia Bar No. 499045
Attorneys for Defendants

Post Office Box 98408
Savannah, GA 31412-0048
(912) 236-0261
Case 4:21-cv-00074-RSB-CLR Document 1-2 Filed 03/17/21 Page 3 of 24

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CERTIFICATE OF SERVICE

This is to certify that I have this day served a true and correct copy of the above
and foregoing document by causing same to be placed in the United States mail,

postage prepaid, hand delivered, and/or sent via email to the following:

Brent J. Savage, Esquire
SAVAGE TURNER DURHAM
PINCKNEY & SAVAGE
102 East Liberty Street, 8™ Floor (31401)
Post Office Box 10600
Savannah, GA 31412

This 16™ day of February, 2021.

_/s/ Colin A. McRae
Colin A. McRae

. Georgia Bar No. 499045
Attorneys for Defendants

HUNTER, MACLEAN, EXLEY & DUNN, P.C.
Post Office Box 98408

Savannah, GA 31412-0048

(912) 236-0261
Case 4:21-cv-00074-RSB-CLR Document 1-2 Filed 03/17/21 Page 4 of 24

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General Civil and Domestic Relations Case Filing Information Form

Brant bar% Clerk of Court

OC Superior or & State Court of CHATHAM County
For Clerk Use Only
1/4/2021 STCV21-00013
Date Filed Case Number
MM-DD-YYYY
Plaintiff(s) Defendant(s)
ROSS, DILLARD SYNERGY MARINE PTE LTD
Last First Middle I. Suffix Prefix Last First Middle I. Suffix Prefix
ARGOSY PTE LTD
Last First Middle I. Suffix Prefix Last First Middle I. Suffix Prefix
SYNERGY MARITIME PVT LTD
Last First Middle I. Suffix Prefix Last First Middle I. Suffix Prefix
Last First Middle I. Suffix Prefix Last First Middle I. Suffix Prefix
Plaintiff's Attorney _ BRENT J. SAVAGE Bar Number _ 627450 Self-Represented 0
Check One Case Type in One Box

General Civil Cases Domestic Relations Cases

O Automobile Tort O Adoption

O Civil Appeal Oo Dissolution/Divorce/Separate

Oo Contract Maintenance

Oo Garnishment O Family Violence Petition

O General Tort O Paternity/Legitimation

O Habeas Corpus O Support - IV-D

O Injunction/Mandamus/Other Writ O Support — Private (non-IV-D)

O Landlord/Tenant Oo Other Domestic Relations

Oo Medical Malpractice Tort

O Product Liability Tort Post-Judgment — Check One Case Type

Oo Real Property oO Contempt

O Restraining Petition O Non-payment of child support,

El Other General Civil medical support, or alimony

O Modification
O Other/Administrative

O Check if the action is related to another action(s) pending or previously pending in this court involving some or all

of the same parties, subject matter, or factual issues. If so, provide a case number for each.

Case Number

Case Number

EF] Thereby certify that the documents in this filing, including attachments and exhibits, satisfy the requirements for
redaction of personal or confidential information in O.C.G.A. § 9-11-7.1.

O Is an interpreter needed in this case? If so, provide the language(s) required.

Language(s) Required

O Do you or your client need any disability accommodations? If so, please describe the accommodation request.

Version 1.1.18
Case 4:21-cv-00074-RSB-CLR Document 1-2 Filed 03/17/21 Page 5 of 24
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In The State Court of Chatham County

133 Montgomery Street, Room 501, Savannah, GA 31401

www.statecourt.org ° Phone (912) 652-7224 ° FAX (912) 652-7229 ° clerk@statecourt.org

DILLARD ROSS

|
| STCV21-00013
|

|
|
|

Plaintiff. Case Number

Vs
SYNERGY MARINEPTELTD,  } } ©
JARGOSY PTE LTD AND Address of Defendant

1 KIM SENG PROMENADE
| #10-11/12 GREAT WORLD CITY WEST
TOWER
REPUBLIC OF SINGAPORE 237994 _

SYNERGY MARITIME PVT LTD | SYNERGY MARINE PTE LTD
{

Defendant

SUMMONS

TO THE ABOVE NAMED DEFENDANT: SYNERGY MARINE PTE LTD

Defendant’s Address 1 Kim Seng Promenade, #10-11/12 GREAT WORLD CITY WEST TOWER, SINGAPORE

You are hereby summoned and required to file with the Clerk of said Court and serve upon Plaintiff’s Attorney,

whose name and address is: BRENT J. SAVAGE |
SAVAGE TURNER DURHAM PINCKNEY & SAVAGE |
POST OFFICE BOX 10600 |
SAVANNAH, GA 31412 |
| _

— ~ |

an answer to the complaint which is herewith served upon you, within 30 days after service of this summons upon you,
exclusive of the day of service. If you fail to do so, Judgment by default will be taken against you for the relief demanded
in the complaint.

Brune K Kerk
CLERK OF COURT
State Court of Chatham County

/s/ Moneisha Green

Deputy Clerk, State Court of Chatham County

PRINT 27. Summons 10-16-2020

Case 4:21-cv-00074-RSB-CLR Document 1-2 Filed 03/17/21 Page 6 of 24
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In The State Court of Chatham County

133 Montgomery Street, Room 501, Savannah, GA 31401

www.statecourt.org ° Phone (912) 652-7224 ° FAX (912) 652-7229 ° clerk@statecourt.org

DILLARD ROSS |
| | STCV21-00013
| }

Plaintiff Case Number
Vs
SYNERGY MARINE PTE LTD, . | Address of Defendant

oe Eee | ARGOSY PTE LTD
| 35-01, OUE DOWNTOWN

'
|
SYNERGY MARITIME PVT LTD }
5S SHENTON WAY

| REPUBLIC OF SINGAPORE 068809
L ee oo tf _ a _

Defendant

SUMMONS

TO THE ABOVE NAMED DEFENDANT: R908 PTE LTD

Defendant’s Address 35-01, OUE DOWNTOWN, 5 SHENTON WAY, REPUBLIC OF SINGAPORE 068809

You are hereby summoned and required to file with the Clerk of said Court and serve upon Plaintiffs Attorney,

whose name and address is: BRENT J. SAVAGE — |
SAVAGE TURNER DURHAM PINCKNEY & SAVAGE |
POST OFFICE BOX 10600 |
SAVANNAH, GA 31412 |

|

an answer to the complaint which is herewith served upon you, within 30 days after service of this summons upon you,
exclusive of the day of service. If you fail to do so, Judgment by default will be taken against you for the relief demanded
in the complaint.

Brune K tork
CLERK OF COURT
State Court of Chatham County

/s/ Moneisha Green | / Ne

Deputy Clerk, State Court of Chatham County

PRINT 27. Summons 10-16-2020

Case 4:21-cv-00074-RSB-CLR Document 1-2 Filed 03/17/21 Page 7 of 24
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In The State Court of Chatham County

133 Montgomery Street, Room 501, Savannah, GA 31401

www.statecourt.org ° Phone (912) 652-7224 ° FAX (912) 652-7229 ° clerk@statecourt.org

DILLARD ROSS |
| | STCV21-00013
| |
Plaintiff Case Number
Vs
Peete rion ____ Address of Defendant
A SYNERGY MARITIME PVT LTD

‘SYNERGY MARITIME PVT LTD
j

|
}
|
}

3/381, RAJIV GANDHI SALAI (OMR)
METTUKUPPAM, CHENNAI

| 4TH FL, AADR TOWER
| 600097, INDIA

efeadant

SUMMONS

TO THE ABOVE NAMED DEFENDANT: SYNERGY MARITIME PVT LTD

Defendant’s Address 4TH FL, AKDR TOWER 3/381, RAJIV GANDHI SALAI (OMR) METTUKUPPAM, CHENNAI

You are hereby summoned and required to file with the Clerk of said Court and serve upon Plaintiff's Attorney,

whose name and address is: BRENT J. SAVAGE
SAVAGE TURNER DURHAM PINCKNEY & SAVAGE
POST OFFICE BOX 10600
SAVANNAH, GA 31412
L

an answer to the complaint which is herewith served upon you, within 30 days after service of this summons upon you,
exclusive of the day of service. If you fail to do so, Judgment by default will be taken against you for the relief demanded
in the complaint.

Bune K. Hark
CLERK OF COURT
State Court of Chatham County

/s/ Moneisha Green

Deputy Clerk, State Court of Chatham County

PRINT 27. Summons 10-16-2020

Case 4:21-cv-00074-RSB-CLR Document 1-2 Filed 03/17/21 Page 8 of 24
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In The State Court of Chatham County, Georgia

133 MONTGOMERY STREET, ROOM 501, SAVANNAH, GA 31401
www.statecourt.org * Phone (912) 652-7224 + FAX (912) 652-7229 - clerk@statecourt.org

DILLARD ROSS

Counsel or Party Counsel or Party
STCV21-00013
Plaintiff Case Number
Vs
SYNERGY MARINE PTE LTD,
ARGOSY PTE LTD

AND SYNERGY MARITIME PVT LTD

Defendant

CERTIFICATION UNDER RULE 3.2

Pursuant to rules 3.2 and 3.4 of the Uniform Superior Court Rules and Local Rule # 3.2 of the Eastern Judicial
Circuit of Georgia, I hereby certify that no case has heretofore been filed in the State Court of the Eastem Judicial Circuit
involving substantially the same parties or substantially the same subject matter or substantially the same factual issues which
would require the petition-pleading to be specifically assigned to the judge whom the original action was or is assigned.

This day of aE

20 21 |
OR

p
wo

Vv
Counsel or Party
Pursuant to Rules 3.2 and 3.4 of the Uniform Superior Court Rules and Local Rule #

of the Eastern
Judicial Circuit of Georgia, I hereby certify that this petition-pleading involves substantially the same parties or substantially
the same factual issues as in Case #

VS
Plaintiff

Defendant

Filed in The Eastern Judicial Circuit of Georgia which under Rule 3.2 of the Superior Court rules require the petition-pleading,
be specifically assigned to the Judge whom the original action was or is assigned.

Counsel or Party
_ PRINT

7. Certification under rule 3.2 09-05
Case 4:21-cv-00074-RSB-CLR Document 1-2 Filed 03/17/21 Page 9 of 24
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IN THE STATE COURT OF CHATHAM COUNTY

STATE OF GEORGIA
DILLARD ROSS, )
)
Plaintiff, )
) STCV21-00013
Vv. ) CIVIL ACTION NO:
)
SYNERGY MARINE PTE LTD, )
ARGOSY PTE LTD., and SYNERGY )
MARITIME PVT LTD, )
)
Defendants. )

COMPLAINT FOR DAMAGES

COMES NOW, DILLARD ROSS, Plaintiff in the above-styled action, and brings
this Complaint for Damages against the above-named Defendants, respectfully showing
this Court as follows:

I. PARTIES, JURISDICTION AND VENUE

1. Plaintiff is a resident of Chatham County, Georgia.

2. Defendant SYNERGY MARINE PTE LTD is a foreign maritime entity with
its principal office and place of business located at 1 Kim Seng Promenade, #10-11/12
Great World City West Tower, Republic of Singapore, 237994. Defendant SYNERGY
MARINE PTE LTD will be served with process in compliance with the requisite
international treaties and other legal obligations.

a At all times relevant to this cause of action, Defendant SYNERGY

MARINE PTE LTD was doing business in the State of Georgia within Chatham County.

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Case 4:21-cv-00074-RSB-CLR Document 1-2 Filed 03/17/21 Page 10 of 24
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4. Defendant ARGOSY PTE LTD is a foreign maritime entity with its
principal office and place of business located at 35-01, OUE Downtown, 5, Shenton Way
Republic of Singapore 068809. Defendant ARGOSY PTE LTD will be served with
process in compliance with the requisite international treaties and other legal
obligations.

5. At all times relevant to this cause of action, Defendant ARGOSY PTE LTD
was doing business in the State of Georgia within Chatham County.

6. Defendant SYNERGY MARITIME PVT LTD is a foreign maritime entity
with its principal office and place of business located at 4" Floor, AKDR Tower, 3/381,
Rajiv Gandhi Salai (OMR), Mettukuppam, Chennnai - 600097, India. Defendant
SYNERGY MARITIME PVT LTD will be served with process in compliance with the
requisite international treaties and other legal obligations.

7. At all times relevant to this cause of action, Defendant SYNERGY
MARITIME PVT LTD was doing business in the State of Georgia within Chatham
County.

8. Upon information and belief, Defendants own, manage, operate, direct,
and crew vessels, including the M/V Maersk Saltoro, to call upon and transact business
in the Port of Savannah, Chatham County, Georgia, on a routine, regular, and systematic
basis.

9. This cause of action is based upon injuries sustained by Plaintiff on the

navigable waters of the United States, more specifically, in Chatham County, Georgia.

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10. Plaintiff brings this cause of action under the Savings to Suitors clause of 28
USC § 1333, general maritime law, Georgia law, and all laws supplementary and
amendatory thereto.

11. __ Jurisdiction and venue are proper in this Honorable Court.

II. FACTUAL ALLEGATIONS

12. Onor about December 8, 2020, Plaintiff was working as a longshoreman
aboard the vessel M/V MAERSK SALTORO at Container Berth 8 of the Garden City
Terminal of the Georgia Ports Authority.

13. Inthe course of his employment duties on said date and place, Plaintiff
was directed to perform certain duties on the vessel M/V MAERSK SALTORO, and
Plaintiff was lawfully on the vessel at all times mentioned herein.

14. | Upon information and belief, Defendants own, manage, operate, direct,
and crew vessels, including the M/V MAERSK SALTORO, to call upon and transact
business in the Port of Savannah, Chatham County, Georgia, on a routine, regular, and
systematic basis.

15. Atall times herein mentioned, the M/V MAERSK SALTORO was located
on the navigable waters of the United States and within the State of Georgia for the
purpose of loading and discharge of cargo.

16. | While in the process of performing his duties on the M/V MAERSK
SALTORO, Plaintiff was walking down the steep gangway, holding onto the left hand
rail, to exit from onboard the vessel. When Plaintiff reached the lower part of the
gangway, the left hand rail suddenly and without warning collapsed and gave way,

causing him to grab onto the right handrail and fall forward approximately four to five

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feet. As a result of Plaintiffs fall on the gangway due to the left hand rail collapsing, he
sustained a serious injury to his right shoulder and lumbar spine.
Ill. CAUSES OF ACTION
A. Negligence

17. Defendants had substantial control, oversight and knowledge of the
equipment on board of the M/V MAERSK SALTORO, and breached their duty to
Plaintiff and other longshoreman by failing to exercise reasonable care to properly
operate and maintain the equipment and ensure that the workers aboard the vessel were
provided with equipment fit for the equipment’s intended use.

18. | Defendants knew or should have known there was an unsafe risk that a
damaged or improperly secured gangway could result in substantial injuries to those
working aboard the vessel.

19. | Upon information and belief, Defendants were in charge of, responsible
for, and/or had control over the gangway and breached their duties to Plaintiff by failing
to properly operate and maintain this equipment and by failing to ensure the equipment
was reasonably fit for its intended use.

20. Plaintiff's injuries were not the result of any fault or negligence on the part
of the Plaintiff, but were proximately caused by the negligence of Defendants, its agents,
servants or employees, acting in the following respects:

a. Negligent failure to operate, maintain, inspect, and replace damaged

or defective vessel equipment;

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b. Employment of incompetent officers, crew, and/or maintenance
personnel responsible for operating, maintaining, inspecting and
replacing damaged or defective vessel equipment;

c. Negligent failure to properly train officers, crew in the acts of
operating, maintaining, inspecting and replacing damaged or defective
vessel equipment;

d. Negligent failure to operate and maintain the vessel and/or the
gangway at issue in a reasonably safe condition and failure to provide
Plaintiff with a reasonably safe place to work;

e. Negligent failure to warn Plaintiff of the defective condition of the
M/V MAERSK SALTORO and its appurtenances and vessel
equipment;

f. Other acts of negligence which will appear more fully at the trial of this
matter.

21. Defendants’ above-described negligent acts and omissions constitute a
proximate cause of the injuries sustained by Plaintiff.
IV. INJURIES AND DAMAGES
22. Plaintiff brings this action against the Defendants to recover medical
expenses, past, present, and future; lost wages, past, present, and future; pain and
suffering, both physical and emotional, past, present, and future; and permanent

impairment.

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23. Defendants have acted in bad faith, been stubbornly litigious, and/or
caused Plaintiff unnecessary trouble and expense, such actions entitling Plaintiff to
recover attorneys’ fees and expenses pursuant to O.C.G.A. § 13-6-11.

WHEREFORE, Plaintiff prays for the following relief:

(A) That summons and process issue and be served upon Defendants;

(B) For atrial by a jury comprised of twelve persons;

(C) That Plaintiff be awarded an appropriate sum to compensate him for his

injuries and damages;

(D) That Plaintiff be awarded reasonable attorneys’ fees and litigation

expenses; and

(E) For such other and further relief as the Court deems just and proper.

This 4 say of January 2021.

Soh Nes

Brerft J. Sivéee| 6
Georgia Bar 627450

SAVAGE, TURNER, DURHAM
PINCKNEY & SAVAGE

Post Office Box 10600
Savannah, GA 31412

(912) 231-1140

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IN THE STATE COURT OF CHATHAM COUNTY

STATE OF GEORGIA

DILLARD ROSS, )
)
Plaintiff, )
)

¥ ) CIVIL ACTION No; S'CV21-00013
)
SYNERGY MARINE PTE LTD, )
ARGOSY PTE LTD., and SYNERGY )
MARITIME PVT LTD, )
)
Defendants. )

PLAINTIFF’S FIRST INTERROGATORIES TO DEFENDANTS
COMES NOW, Plaintiff in the above-styled case, and requires Defendants to
answer under oath and in writing the following interrogatories, pursuant to O.C.G.A. §9-
11-33, within forty-five (45) days from the date of service hereof.

NOTICE AND DIRECTIONS

NOTE A: You are hereby required to respond to the Interrogatories,
separately and fully in writing under oath, within thirty (30) days of service and serve a
copy of the response upon Plaintiffs attorney.

NOTEB: When used in the Interrogatories the term "Defendant" or "you" or
any synonym thereof, is intended to and shall embrace and include NYK Line (North
America) Inc., individually, as well as all attorneys, agents, servants, representatives,
private investigators and others who are in a position of obtaining or may have obtained
information for or on behalf of Defendant relevant to these Interrogatories.

NOTEC: These Interrogatories shall be deemed continuing so as to require

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supplemental answers if you or your attorneys obtain further information between the
time answers are served and the time of trial. Any such supplemental answers are to be
filed and served upon counsel for the Plaintiff within thirty (30) days from receipt of
such additional information but not later than ten (10) days prior to the time of trial.

NOTED: "Document" means: (1) every writing or record of every type and
description that is or has been in your possession, control, or custody or of which you
have knowledge, including but not limited to, correspondence, inter-office memoranda,
tapes, email, computer files, hard disks, databases, backup tapes, stenographic or hand-
written notes, studies, publications, books, pamphlets, pictures (drawings and
photographs), films, microfilms, voice recordings, maps, reports, surveys, minutes,
statistical computations, invoices, production orders, sales records, and any other
writing evidencing or reflecting facts relevant to the Plaintiff's claims; (2) every copy of
the above-described writing record where the original is not in your possession, custody
or control; (3) every copy of each such writing or record where such a copy is not an
identical copy of the original by virtue of any commentary or notation that does not
appear on the original.

NOTEE: Throughout these interrogatories, where Defendant is requested to
identify a person, the following information should be furnished:

(a) |The person's full name;

(b) Hisor her present home and business address and telephone number at

each address;
© His or her occupation; and

(d) His or her place of employment.

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NOTEF: As used herein, terms in the singular include the plural and terms in

the plural include the singular.

1. Please state the name, address, telephone number, brief summary of the
knowledge said person has/claims to have and employer/job title at the
time of Plaintiff's injury of each and every person who has or claims to
have knowledge or information (including medical information) regarding
any facts, circumstances, or issues involved in Plaintiff's Complaint.

2, Please state the name, address and telephone number of those persons
whose formal or informal statements, verbal or written, were obtained by
you or any of your representatives in connection with the incident in
question or any issue in this lawsuit. State the date of each statement,
state where it was obtained, and identify by name, address and telephone
number the person obtaining it.

3. Do you have in your possession or do you have access to a written or
recorded statement or summary of notes of an oral statement by the
Plaintiff? If so, please state the date of each statement, where it was
obtained, and identify by name, address and telephone number the person
obtaining it.

4. Please state the name, address, telephone number, employer, and job title
of any person or persons who made any investigations or reports as a
result of or in connection with the incident giving rise to this lawsuit, and
identify by title each report or other document resulting from same.

5. Do you have, or does your attorney or other representative have any

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photographs, videotapes, sketches, diagrams, blueprints, plans, etc., taken
or made in connection with the Plaintiffs injury or the matters and things
involved in Plaintiffs claim or this lawsuit?

6. Please state the name, address, telephone number, opinions held, list of
documents upon which they rely, list of all records provided and field of
expertise of any person you will call at trial as an expert witness.

a, Please state who lowered the gangway, the time it was done and
inspections made of it. Also, please state any discussions repeatedly had
with any stevedore or ILA member about the gangway.

8. Were any corrective actions taken in response to Dillard Ross’s injuries? If
so, what were they?

9. At the time of the Plaintiffs injury as described in the Complaint, please
provide the name and address of each insurer, the policy number and
limits of liability for each type of coverage and the nature of any exclusions
for any policies (primary or excess) of insurance insuring your liability for
the type of risk sued on herein.

10. _ Please state the wording of any safety or operating rules, regulations or
recommendations, whether written or verbal, pertaining to Plaintiff's work
activity (going down a gangway) at the time of the injury described in the
Complaint.

11. Were any written reports made of any inspections of the gangway that is
alleged to have injured the Plaintiff prior to or subsequent to Plaintiffs
injury?

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12. If any written or oral reports were made of any such inspections referred
to in the preceding interrogatory, please state the date of such report, and
from whom and to whom said reports were made last preceding and first
following Plaintiffs injury.

13. Please state the name, address and job classification of all such persons
who gave notice or made complaints about the subject gangway prior to
the time of Plaintiff's injury and state whether said notice or complaint
was put in writing and, if so, the present location of said written document.

14. Are you in possession of photographs or videotapes in which the Plaintiff
appears or of the site of Plaintiff's injury either before or after it occurred?
If so, please state:

(a) | Howmany photographs or videotapes were made and when and
where they were made?

(b) The name and present address of by whom they were made and the
name and address of the person who presently has possession of
them;

15. Whois responsible for maintaining and operating the subject gangway?

16. | The name, business and home addresses of the officers, directors and
shareholders of the Defendant.

17. State which documents Defendant possesses, maintains or has access to
which state the specifications for the inspection, maintenance and
replacement of the subject vessel’s gangway.

18. | Howdo you contend the gangway railing collapsed?

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19.

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20.

22:

Who was responsible for placing/securing the netting in the area where
Dillard Ross fell?

Who was responsible for the placement of the gangway at the time Dillard
Ross fell?

Do you contend Dillard Ross was contributorily negligent in any way?

Do you contend any third party not named in this lawsuit was

contributorily negligent? If so, how?

This Y day of January, 2021.

Brent J. Savage) ~
Georgia Bar No. 627450

SAVAGE, TURNER, DURHAM
PINCKNEY & SAVAGE

Post Office Box 10600
Savannah, GA 31412

(912) 231-1140

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IN THE STATE COURT OF CHATHAM COUNTY

STATE OF GEORGIA
DILLARD ROSS, )
)
Plaintiff, )
) STCV21-00013
v. ) CIVIL ACTION NO:
)
SYNERGY MARINE PTE LTD, )
ARGOSY PTE LTD., and SYNERGY )
MARITIME PVT LTD, )
)
Defendants. )

PLAINTIFF’S FIRST REQUEST FOR PRODUCTION
OF DOCUMENTS TO DEFENDANTS

COMES NOW, Plaintiff in the above-styled case, and requires Defendant
Georgia Ports Authority, pursuant to O.C.G.A. §9-11-34 to produce for inspection and
copying at the offices of the Plaintiffs attorney of record, Brent J. Savage, at Savage,
Turner, Pinckney & Savage, 102 East Liberty Street, Eighth Floor, Savannah, Georgia
31401, the following documents within forty-five (45) days of the date of service of this
request.

Plaintiff requests that, along with the production of documents, a written
response be made detailing the documents produced and any documents covered by
these requests which the Defendants objects to producing.

NOTE A: _ These requests are continuous and should be supplemented if
additional information is received at a later date.

NOTE B: _ If documents requested are not in the Defendants' possession,

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please state as follows:

(1) name of person who has possession or knowledge of whereabouts;

(2) business address of such;

(3) business telephone number of such.

NOTEC: _ Ifyou claim that a privilege applies to any document sought by this
request, then state the factual and legal basis for the claimed privilege and identify the
document (by date, author, recipient, general subject matter) so that it can be described
in a motion to compel.

1. Any and all accident records, reports, memoranda and emails relating to
the Plaintiff in Defendant’s possession.

2, The entire crew list of the M/V MAERSK SALTORO and the employee list
of the M/V MAERSK SALTORO for the voyage and activity at issue herein, including
addresses and telephone numbers.

3. Any and all log books (or other records) kept by the M/V MAERSK
SALTORO for the aforesaid voyage, or by Defendant for the involved activity, including
where applicable, but not limited to, the following:

(a) Deck logs;

(b)  Engineer’s logs;

(c) Medical logs;

(d) Radio logs;

(e) Repair and maintenance logs; and
(f) Electrical work logs.

4. Any and all statements, including of the Plaintiff, either oral or written,

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signed or unsigned, and/or any and all recordings, by whatever means, relating to the
incident complained of herein.

5. All photographs, videotapes, records, and any other depiction or written
descriptions taken by the Defendant or its representatives, involving, concerning,
regarding or in any way connected with the matters at issue herein, including specifically
any of Plaintiff.

6. Any and all reports, notes, memoranda, correspondence, emails and
related data made or kept by the Defendant, its agents, and/or employees, for or on
behalf of or in the interest of the Defendant, and kept in its regular course of business,
currently in existence or in its custody, possession and control, pertaining to Plaintiff's
injury and claim against Defendant herein.

7. All communications transmitted or received in connection with Plaintiffs
injuries.

8. All U.S. Coast Guard, Occupational Safety and Health Administration, or
other reports or accident reports filed in connection with Plaintiffs injury.

9. All medical and other types of bills paid by Defendant for medical
treatment or services for Plaintiff or otherwise paid on Plaintiffs behalf.

10. All expert’s reports, test results, data relied on, and other information
upon which said expert has relied or utilized to formulate his opinion, irrespective of
whether said expert will or will not be called to testify or whether his or her opinion is
not yet finalized.

11. Copies of all policies of insurance (whether primary or excess) pertaining

to the claims made in this lawsuit.

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12. All safety and/or operating rules, pamphlets, books, newsletters, posted
notices, and other such safety or operating rules or regulations in effect at the time of
the incident that forms the basis of this litigation.

13. All contracts existing between the Defendants and between any other
company or entity concerning the activities, vessel, crew members, etc., pertaining to the
work activities undertaken on the date of Plaintiffs injury.

14. Copies of any diagrams, sketches, drawings, blueprints, etc., of the area of
the M/V MAERSK SALTORO where Plaintiff's injury occurred.

15. All maintenance and repair records, if any, relating to the equipment
and/or area of the M/V MAERSK SALTORO where Plaintiff's injury occurred, whether
made before or after Plaintiff left the vessel.

16. All written reports of routine or special inspections made of the equipment
and/or area of the M/V MAERSK SALTORO where Plaintiffs injury occurred, whether

made before or after Plaintiff left the vessel.

"
This Yj “day of January, 2021. CA Cone

Brent J. Savaak :
Georgia Ba . 627450

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